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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:18-CR-0171-MCE
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                   v.                                  FINDINGS AND ORDER
     FIDEL SANCHEZ-CRUZ, and
14   AGUSTIN CRUZ-SANCHEZ,                               DATE: October 15, 2020
                                                         TIME: 10:00 a.m.
15                               Defendants.             COURT: Hon. Morrison C. England, Jr.
16

17          This case is set for a status conference on October 15, 2020. By this stipulation, the parties

18 request a continuance of the status conference to January 28, 2021, and to exclude time under Local

19 Code T4.

20          On May 13, 2020, this Court issued General Order 618, which suspends all jury trials in the

21 Eastern District of California “until further notice.” Further, pursuant to General Order 611, this Court’s

22 declaration of judicial emergency under 18 U.S.C. § 3174, and the Ninth Circuit Judicial Council’s

23 Order of April 16, 2020 continuing this Court’s judicial emergency, this Court has allowed district
                                                                       1
24 judges to continue all criminal matters to a date after May 2, 2021. This and previous General Orders,

25 as well as the declarations of judicial emergency, were entered to address public health concerns related

26 to COVID-19.
27
            A judge “may order case-by-case exceptions” at the discretion of that judge “or upon the
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28 request of counsel, after consultation with counsel and the Clerk of the Court to the extent such an order
   will impact court staff and operations.” General Order 618, ¶ 7 (E.D. Cal. May 13, 2020).
     STIPULATION REGARDING EXCLUDABLE TIME              1
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1          Although the General Orders and declarations of emergency address the district-wide health

 2 concern, the Supreme Court has emphasized that the Speedy Trial Act’s end-of-justice provision

 3 “counteract[s] substantive openendedness with procedural strictness,” “demand[ing] on-the-record

 4 findings” in a particular case. Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-

 5 record findings, there can be no exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such

 6 failure cannot be harmless. Id. at 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153

 7 (9th Cir. 2000) (explaining that a judge ordering an ends-of-justice continuance must set forth explicit

 8 findings on the record “either orally or in writing”).

 9          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

10 and inexcusable—General Orders 611, 612, 617, and 618 and the subsequent declaration of judicial

11 emergency require specific supplementation. Ends-of-justice continuances are excludable only if “the

12 judge granted such continuance on the basis of his findings that the ends of justice served by taking such

13 action outweigh the best interest of the public and the defendant in a speedy trial.” 18 U.S.C.

14 § 3161(h)(7)(A). Moreover, no such period is excludable unless “the court sets forth, in the record of

15 the case, either orally or in writing, its reason or finding that the ends of justice served by the granting of

16 such continuance outweigh the best interests of the public and the defendant in a speedy trial.” Id.

17          The General Orders and declaration of judicial emergency exclude delay in the “ends of justice.”

18 18 U.S.C. § 3161(h)(7) (Local Code T4). Although the Speedy Trial Act does not directly address

19 continuances stemming from pandemics, natural disasters, or other emergencies, this Court has

20 discretion to order a continuance in such circumstances. For example, the Ninth Circuit affirmed a two-
21 week ends-of-justice continuance following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d

22 764 (9th Cir. 1981). The court recognized that the eruption made it impossible for the trial to proceed.

23 Id. at 767-68; see also United States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to

24 exclude time following the September 11, 2001 terrorist attacks and the resultant public emergency).

25 The coronavirus is posing a similar, albeit more enduring, barrier to the prompt proceedings mandated

26 by the statutory rules.
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       STIPULATION REGARDING EXCLUDABLE TIME                2
30     PERIODS UNDER SPEEDY TRIAL ACT
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 1          In light of the societal context created by the foregoing, this Court should consider the following

 2 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

 3 justice exception, § 3161(h)(7) (Local Code T4).2

 4                                                STIPULATION

 5          Plaintiff United States of America, by and through its counsel of record, and defendants, by and

 6 through their respective counsel of record, hereby stipulate as follows:

 7          1.       By previous order, this matter was set for status on October 15, 2020.

 8          2.       By this stipulation, defendant now moves to continue the status conference until January

 9 28, 2021, and to exclude time between October 15, 2020, and January 28, 2021, under 18 U.S.C.
10 § 3161(h)(7)(A), B(iv) [Local Code T4].

11          3.       The parties agree and stipulate, and request that the Court find the following:

12                   a)     The government has represented that the discovery associated with this case

13          includes more than 13,000 pages of investigative reports, photographs, and other documents, as

14          well as video and audio recordings. All of this discovery has been either produced directly to

15          counsel and/or made available for inspection and copying.

16                   b)     On August 21, 2020, the Court appointed attorney Toni White as counsel to

17          represent Defendant Agustin Cruz-Sanchez.

18                   c)     Counsel for the defendants desire additional time to review the discovery and

19          discuss it with their clients, to conduct investigation, to evaluate a potential motion to suppress,

20          and to otherwise prepare for trial.

21                   d)     Counsel for the defendants believe that failure to grant the above-requested

22          continuance would deny them the reasonable time necessary for effective preparation, taking into

23          account the exercise of due diligence.

24                   e)     The government does not object to the continuance.

25                   f)     In addition to the public health concerns cited by the General Orders and

26          declarations of judicial emergency, and presented by the evolving COVID-19 pandemic, an

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            2
            The parties note that General Order 612 acknowledges that a district judge may make
28 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
     STIPULATION REGARDING EXCLUDABLE TIME              3
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1          ends-of-justice delay is particularly apt in this case because counsel for defendant is in a high-

 2          risk category for COVID-19, as recognized by the Centers for Disease Control.

 3                   g)     Based on the above-stated findings, the ends of justice served by continuing the

 4          case as requested outweigh the interest of the public and the defendant in a trial within the

 5          original date prescribed by the Speedy Trial Act.

 6                   h)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 7          et seq., within which trial must commence, the time period of October 15, 2020 to January 28,

 8          2021, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

 9          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

10          of the Court’s finding that the ends of justice served by taking such action outweigh the best

11          interest of the public and the defendant in a speedy trial.

12          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

13 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

14 must commence.

15          IT IS SO STIPULATED.

16
      Dated: October 13, 2020                                  MCGREGOR W. SCOTT
17                                                             United States Attorney
18
                                                               /s/ DAVID W. SPENCER
19                                                             DAVID W. SPENCER
                                                               Assistant United States Attorney
20
21
      Dated: October 13, 2020                                  /s/ Dina Santos
22                                                             Dina Santos
23                                                             Counsel for Defendant
                                                               FIDEL SANCHEZ-CRUZ
24

25
      Dated: October 13, 2020                                  /s/ Toni White
26                                                             Toni White
27                                                             Counsel for Defendant
                                                               AGUSTIN CRUZ-SANCHEZ
28

      STIPULATION REGARDING EXCLUDABLE TIME                4
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 1                                      FINDINGS AND ORDER

 2        IT IS SO ORDERED.

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 4 Dated: October 14, 2020

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     STIPULATION REGARDING EXCLUDABLE TIME      5
30   PERIODS UNDER SPEEDY TRIAL ACT
